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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

 KHARI VARNER,                                   )
                                                 )
        Plaintiff,                               )
                                                 )
 vs.                                             )   CIV. ACT. NO. 2:24-cv-343-TFM-MU
                                                 )
 SELMA POLICE DEPARTMENT, et al.,                )
                                                 )
        Defendants.                              )

                         MEMORANDUM OPINION AND ORDER

       On November 20, 2024, the Magistrate Judge entered a report and recommendation which

recommends this case be dismissed without prejudice for lack of jurisdiction. See Doc. 17. No

objections were filed.

       Accordingly, after due and proper consideration of all portions of this file deemed relevant

to the issues raised, and there having been no objections filed, the Report and Recommendation of

the Magistrate Judge is ADOPTED and this case is DISMISSED without prejudice.

       A separate judgment will issue pursuant to Fed. R. Civ. P. 58.

       DONE and ORDERED this 15th day of January, 2025.

                                                     /s/Terry F. Moorer
                                                     TERRY F. MOORER
                                                     UNITED STATES DISTRICT JUDGE




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